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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Rafaela Aldaco
                            Plaintiff,
v.                                                  Case No.: 1:16−cv−05754
                                                    Honorable Joan H. Lefkow
Rentgrow Inc.
                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, October 17, 2018:


        MINUTE entry before the Honorable Joan H. Lefkow: Motion for bill of costs
[78] is granted. Enter Bill of Costs. Mailed notice (ags, )




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